                               United States District Court
                                Middle District of Florida
                                 Jacksonville Division


SCOTT WYNN, AN INDIVIDUAL,

       Plaintiff,

v.                                                         NO. 3:21-CV-514-MMH-LLL

THOMAS J. VILSACK, IN HIS OFFICIAL
CAPACITY AS SECRETARY OF
AGRICULTURE, AND ZACH
DUCHENEAUX, IN HIS OFFICIAL
CAPACITY AS ADMINISTRATOR, FARM
SERVICE AGENCY,

       Defendants.

________________________________________________________________________

                              Report & Recommendation

       Before the Court is Plaintiff Scott Wynn’s Motion for Attorneys’ Fees under 28

U.S.C. § 2412, the Equal Access to Justice Act (EAJA), doc. 100, and Defendants

Thomas J. Vilsack and Zach Ducheneaux’s (the Government) Opposition to the

Motion for Attorney’s Fees, doc. 106. 1 This matter has been referred to me for a report

and recommendation regarding the appropriate resolution, doc. 100. For the reasons

that follow, I respectfully recommend plaintiff’s motion be denied.




1
 The parties also filed various declarations, attachments, and supplemental authority in
support of their positions which have also been considered by the Court. Docs. 101, 102, 103,
107.
                                       Background

       Plaintiff is a white farmer living and working in Jennings, Florida. Doc. 1 ¶ 4.

On May 18, 2021, he brought the above-captioned suit, challenging Section 1005 of

the America Rescue Plan Act of 2021, which provided debt relief to socially

disadvantaged farmers and ranchers (SDFRs). Doc. 1. Plaintiff alleged that Section

1005 violated equal protection under the Fifth Amendment (count 1) and, relatedly,

its implementation should have been barred under the Administrative Procedure Act

(count 2). Doc. 41 at 3, 6 (citing doc. 1). Plaintiff sued Thomas J. Vilsack, the Secretary

of Agriculture, and Zach Ducheneaux, the administrator of the United States

Department of Agriculture (USDA) and head of the Farm Services Agency (FSA), in

their official capacities. Doc. 1 ¶¶ 10, 11.

       Relevant here, Section 1005(a)(2) enabled Vilsack to pay “[SDFRs] . . . up to

120% of the indebtedness . . . of [a] SDFR’s direct . . . [FSA] loans and any farm loans

guaranteed by the Secretary.” Doc. 41 at 2. As used in Section 1005, a SDFR means

a farmer or rancher “who is a member of a socially disadvantaged group,” that is “a

group whose members have been subjected to racial or ethnic prejudice because of

their identity as members of a group without regard to their individual qualities.” Id.

(citing 7 U.S.C. §§ 2279(a)(5) and 2279(a)(6)). As the Honorable Marcia Morales

Howard, presiding District Judge, explained, “[r]acial or ethnic groups that

categorically qualify as socially disadvantaged are ‘Black, American Indian/Alaskan

Native, Hispanic, Asian, and Pacific Islander.’” Id. (additional citations omitted).

White or Caucasian farmers, like plaintiff, did not qualify for debt relief. Id. Thus,
                                               2
plaintiff alleged the law treated him unfairly because his USDA farm loans were not

eligible for debt relief solely because of his race. Doc. 1 ¶ 4. Eleven similar equal

protection challenges were brought by farmers across the United States.2 See doc. 106

at n.1 (citing cases).

       On June 23, 2023, the Court issued a preliminary injunction immediately

enjoining the Government, their agents, and employees “from issuing any payments,

loan assistance, or debt relief under Section 1005(a)(2) . . . until further order from the

Court.” Doc. 41 at 48-49. Although two other courts also granted preliminary

injunctions regarding the operation of Section 1005, Judge Howard was the first to do

so. Docs. 100 at 2-3, 106 at 4; 84 at 2. 3 See Miller v. Vilsack, No. 4:21-cv-595, 2021 WL

11115194 (N.D. Tex. July 1, 2021); Holman v. Vilsack, No. 21-cv-1085, 2021 WL

2877915 (W.D. Tenn. July 8, 2021).

       Sometime after the nationwide, temporary injunction here issued, a court in the

Northern District of Texas—also reviewing a constitutional challenge to Section

1005—issued an injunction and certified a nationwide class action. Doc. 84 at 2; see

Miller v. Vilsack, 2021 WL 11115194, at *12. Plaintiff was a member of the certified


2
 See Miller v. Vilsack, No. 4:21-cv-595 (N.D. Tex.); Holman v. Vilsack, No. 21-cv-1085 (W.D.
Tenn.); Kent v. Vilsack, No. 21-cv-540 (S.D. Ill.); Faust v. Vilsack, No. 1:21-cv-548 (E.D. Wis.);
Carpenter v. Vilsack, No. 2:21-cv-103 (D. Wyo.); McKinney v. Vilsack, No. 2:21-cv-212 (E.D.
Tex.); Joyner v. Vilsack, No. 1:21-cv-1089 (W.D. Tenn.); Dunlap v. Vilsack, No. 2:21-cv-942 (D.
Or.); Rogers v. Vilsack, No. 1:21-cv-1779 (D. Colo.); Tiegs v. Vilsack, No. 3:21-cv-147 (D.N.D.);
Nuest v. Vilsack, No. 21-cv-1572 (D. Minn.).
3
 A Court in the Eastern District of Wisconsin granted a temporary restraining order against
the enforcement of Section 1005 approximately two weeks before the preliminary injunction
was issued here. See Faust v. Vilsack, 519 F. Supp. 3d 470 (E.D. Wis. 2021).
                                                3
class in Miller. Id. at n.3 (citations omitted); doc. 84 at 3. On December 7, 2021, the

above-captioned case was “stayed pending resolution of the class action claims of

which [plaintiff] [was] a member in Miller v. Vilsack . . . . ” Doc. 84 at 11. 4

       On August 16, 2022, the President signed the Inflation Reduction Act of 2022

which repealed Section 1005, mooting the constitutional challenge. Doc. 89 ¶ 2. The

parties in Miller stipulated to the dismissal of the case. Id. ¶ 3. The parties here then

stipulated to the dismissal of this action without prejudice, doc. 90, and on September

13, 2022, the case was dismissed; the Court, however, reserved jurisdiction to consider

any motions for attorneys’ fees and/or costs, doc. 91.

       This fees motion timely followed. Doc. 100. Plaintiff argues he qualifies as a

“prevailing party” under the EAJA because “he obtained the first preliminary

injunction that enjoined the race-based debt relief program nationwide.” Doc. 100 at

1. He asks the Court to award him expenses and fees under the EAJA in the amount

of $127,709.05. Id. The Government argues plaintiff cannot recover here for two

reasons. First, plaintiff is not a prevailing party because the preliminary injunction

issued by the District Judge did not “award lasting, enduring, or irreversible relief,”

rather it maintained the status quo. Doc. 106 (citing doc. 41 at 45). Second, the

Government argues it was substantially justified in its position opposing a preliminary

injunction. Id. at 10.



4
 The Court indicated that plaintiff could move to lift the stay upon entry of final judgment in
the Miller class action, or if Wynn was removed from the class. Doc. 84 at 11.


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                                          Analysis

       Under the EAJA, a court shall “award to a prevailing party . . . fees and other

expenses . . . incurred by the party in any civil action . . . brought by or against the

United States . . . unless the court finds that the position of the United States was

substantially justified or that special circumstances make an award unjust.” 28 U.S.C.

§ 2412(d)(1)(A). 5

       The purpose of the EAJA is to abolish the financial hardship for the average

person challenging unreasonable government actions. Comm’r, I.N.S. v. Jean, 496 U.S.

154, 163-64 (1990) (citation omitted). Still, “the EAJA renders the United States liable

for attorney’s fees for which it would not otherwise be liable, and thus amounts to a

partial waiver of sovereign immunity. Any such waiver must be strictly construed in

favor of the United States.” Ardestani v. I.N.S., 502 U.S. 129, 137 (1991) (citations

omitted).

       The applicant in an EAJA proceeding has the burden of establishing eligibility

for attorneys’ fees. Broaddus v. U.S. Army Corps of Eng’rs, 380 F.3d 162, 168 (4th Cir.

2004). See also Sosebee v. Astrue, 494 F.3d 583, 589 (7th Cir. 2007) (“[The applicant] had

the burden of showing [his eligibility for EAJA fees] by the normal civil standard of

proof, which is to say by a preponderance of the evidence.”) (citation omitted). And

the “government bears the burden of showing that its position was substantially


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  Under the EAJA, an individual moving party must not have a net worth that exceeds
$2,000,000 at the time the action was filed. 28 U.S.C. § 2412(d)(1)(D)(2)(B). The Government
does not dispute that plaintiff’s net worth was less than $2,000,000 at the time the action was
filed.
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justified.” United States v. Jones, 125 F.3d 1418, 1425 (11th Cir. 1997) (citation omitted).

Any fees awarded must be “reasonable.” Hensley v. Eckerhart, 461 U.S. 424, 436-37

(1983); 28 U.S.C. § 2412(d)(2)(A). There are three requirements that must be satisfied

for a fee award under the EAJA: 1) plaintiff was a prevailing party; 2) the

Government’s position was not “substantially justified;” and 3) special circumstances

do not render the award unjust. 28 U.S.C. § 2412(d)(1)(A). I address the relevant

requirements in turn.

             A. Plaintiff is not a prevailing party for purposes of the EAJA
                           and is not entitled to attorneys’ fees.

        Plaintiff argues he qualifies as a “prevailing party” under the EAJA because his

preliminary injunction motion was successful. Doc. 100 at 6-8. The Government

disagrees, arguing the relief plaintiff obtained in the form of a preliminary injunction

maintained the status quo, was not enduring, and merely preserved plaintiff’s ability

to obtain relief. Doc. 106 at 6 (citing doc. 47).

        Courts typically follow what has been termed “the American Rule;” that is, the

parties typically bear their own attorneys’ fees. Key Tronic Corp. v. United States, 511

U.S. 809, 815-16 (1994) (citation omitted). “Under this American Rule, we follow a

general practice of not awarding fees to a prevailing party absent explicit statutory

authority.” Buckhannon Bd. and Care Home, Inc. v. W. Va. Dep’t of Health and Hum. Res.,

532 U.S. 598, 602-03 (2001) (citation omitted). The EAJA is one such statute,

explicitly carving out the award of attorneys’ fees to a prevailing party. 28 U.S.C. §

2412.


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       The Supreme Court has instructed that “‘[t]he touchstone of the prevailing

party inquiry’ . . . is ‘the material alteration of the legal relationship of the parties in a

manner which Congress sought to promote in the fee statute.’” Sole v. Wyner, 551 U.S.

74, 82 (2007) (quoting Tex. State Teachers Ass’n v. Garland Indep. Sch. Dist., 489 U.S.

782, 792-93 (1989)). 6 Courts look to whether a plaintiff gained an “enduring ‘change

in the legal relationship’” between himself and the state officials he sued. Id. at 86

(quoting Garland, 489 U.S. at 792).

       The Eleventh Circuit has interpreted the phrase “prevailing party” in this

context “to require either ‘(1) a situation where a party has been awarded by the court

at least some relief on the merits of his claim or (2) a judicial imprimatur on the change

in the legal relationship between the parties.’” Common Cause/Georgia v. Billups, 554

F.3d 1340, 1356 (11th Cir. 2009) (quoting Smalbein ex rel. Estate of Smalbein v. City of

Daytona Beach, 353 F.3d 901, 905 (11th Cir. 2003)). The temporary nature of injunctive

relief, however, does not foreclose prevailing party status. Common Cause Georgia v.

Georgia, 17 F.4th 102, 107 (11th Cir. 2021). “The Supreme Court teaches [that]

‘prevailing party’ status may be based on ‘success on any significant claim affording



6
  In Garland, the Supreme Court analyzed who constitutes a prevailing party under 42 U.S.C.
§ 1988, not the EAJA. Section 1988 authorizes federal district courts to award attorneys’ fees
in proceedings in vindication of civil rights. 42 U.S.C. § 1988. Cases interpreting section 1988
are nevertheless instructive here because the standards “applicable to § 1988 fee awards ‘are
generally applicable in all cases which Congress has authorized an award of fees to a
prevailing party[,]’” including the EAJA. Hensley v. Eckhart, 461 U.S. 424, 433 n.7 (1983).
Reeves v. Astrue, 526 F.3d 732, 735-36 (11th Cir. 2008).



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the litigant some of the relief sought, either pendente lite or at the conclusion of the

litigation.’” Id. (quoting Garland, 389 U.S. at 791) (alterations omitted).

       Upon review, I find there is no per se rule in the Eleventh Circuit that equates

obtaining a preliminary injunction with prevailing party status. 7 Instead, the Eleventh

Circuit takes a holistic approach and analyzes the nature of the specific relief granted

in the context of deciding whether a fee award is appropriate. Thus, any analysis must

consider whether the relief altered the legal relationship between the parties to a degree

significant enough to entitle plaintiff to fees.

       For instance, in Markham v. International Association of Bridge, Structural &

Ornamental Iron Workers, 901 F.2d 1022, 1027 (11th Cir. 1990), the district court

awarded a preliminary injunction temporarily dissolving a trusteeship and

subsequently awarded the movant attorneys’ fees as the prevailing party. Id. The

Circuit, however, reversed on the attorneys’ fees award, explaining that on the facts

before it, obtaining a preliminary injunction was not “a critical step [that] essentially

procured all the relief required[,]” rather, “the only purpose served by the injunction

was to prevent any harm . . . until the internal hearing could be held and the merits

. . . could be evaluated.” Id. (citation and quotations omitted).




7
 Stated otherwise, I do not find, as plaintiff urges, that obtaining a preliminary injunction on
the merits entitles one to prevailing party status as a matter of law. Doc. 100 at 6 (citing
Common Cause Georgia, 17 F.4th at 107).
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       I do not highlight Markham for the proposition that its facts are analogous to

that which is before the Court. Instead, I cite it in support of my reading of Eleventh

Circuit law, which is fact and context specific:

              Success at the preliminary injunction stage in this case does
              not support a fee award because it did not alter the legal
              relationship between the parties. In so holding, we do not
              preclude the possibility that a plaintiff who is ultimately
              successful on the merits may be reimbursed for fees incurred
              at the preliminary injunction stage, or that a plaintiff
              obtaining a hearing where none was planned may make a
              meritorious claim for attorney’s fees. In both such
              scenarios, the injunction could form a vital function in
              changing the legal relationship between the parties, in a way
              it did not in this case.

Id. at 1027-28 (emphasis added).

       Although the Eleventh Circuit has concluded a preliminary injunction on the

merits may provide prevailing party status, Billups, 554 F.3d at 1356; Common Cause

Georgia, 17 F.4th at 107 (citing Billups, 554, F.3d at 1356), 8 this must also be considered

in conjunction with Markham, which is still good law. 901 F.2d at 1027-28. Thus, the

Court must analyze the specific circumstances of the preliminary injunction when

making a fees determination under the EAJA.

       For example, in Common Cause Georgia, the plaintiff, a not-for-profit

organization, sued the Georgia Secretary of State on the eve of the Georgia general

election alleging that the state election system was vulnerable to security breaches,

potentially preventing eligible voters from casting their votes. Id. at 105. One day after


8
  Nor does the repeal of an enjoined statute preclude a plaintiff from obtaining prevailing party
status. Id.
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the election, the nonprofit moved for a temporary restraining order to stop the state

from rejecting certain provisional ballots. Id. at 105-06. The district court granted the

motion, although the lawsuit was later mooted due to the passage of new laws affecting

the handling of provisional ballots. Id. at 106.

       The Eleventh Circuit found that issuing the temporary restraining order was

relief on the merits and that the nonprofit was entitled to prevailing party status. Id.

107-08. The Circuit explained that the nonprofit had shown a substantial likelihood of

success and that the temporary restraining order “materially altered the parties’ legal

relationship” in significant ways. 9 Id. at 108. In support, the Circuit explained that the

district court ordered: 1) the Secretary to comply with federal and state law by

establishing and publicizing a hotline or website for provisional ballot voters; 2) state

officials to give voters more information about provisional ballots and registration

status; and 3) the Secretary to independently review provisional voter eligibility,

clarifying what resources the state could review in determining voter eligibility. Id. at

108. Additionally, the district court enjoined the Secretary from certifying the election

before a date certain. Id. 10 Thus, the Circuit summarized, “[t]he temporary restraining

order marked a change in the legal relationship between the parties—it altered the

Secretary’s conduct and benefited [the nonprofit] and its members.” Id. at 108.


9
 This step would have been unnecessary if, as plaintiff urges, there was a per se rule entitling
a party who was granted a preliminary injunction or a temporary restraining order to
prevailing party status.
10
  The district court further noted that there was a risk of irreparable injury (i.e., some votes
not being counted) in the event the temporary restraining order did not issue. Id. at 106.
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      Similarly, in Billups, the district court preliminarily enjoined Georgia from

enforcing a law requiring photo identification for in-person voting. Billups, 554 F.3d at

1347. Thus, the relationship between the individual voters and election officials was

“materially altered” because “the injunction prevented Georgia from enforcing the

requirement of photo identification for in-person voting.” Id. Stated otherwise,

plaintiffs could vote, in person, without showing photo identification in the 2006

election. Id. (“The injunction prevented Georgia from enforcing the requirement of

photo identification for in-person voting.”). Plaintiffs in Billups, therefore, had an

“enduring opportunity to profit from the Court order,” unlike plaintiff here, who did

not receive a material benefit from the injunction or alter the relationship between the

parties. See Holman v. Vilsack, No. 21-cv-1085, 2023 WL 2776733, at *4 (W.D. Tenn.

Apr. 4, 2023) (discussed further below).

      Considering the above, I am not persuaded that plaintiff has met his burden to

show a “material alteration of the legal relationship of the parties in a manner which

Congress sought to promote in the fee statute.” Sole, 551 U.S. at 77 (citation and

quotation omitted). The preliminary injunction here did not require the Government

to do anything; instead, it cemented the status quo, unlike the preliminary relief

ordered in Common Cause Georgia and Billups outlined above. By issuing the injunction,

the Court temporarily prevented the Government from providing debt relief to SDFRs,

as contemplated by Section 1005. Doc. 41. The injunction was a legally significant

decision, but not one that materially altered plaintiff’s relationship with the



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Government. Plaintiff did not receive debt relief or other expanded rights or

opportunities; rather, his constitutional rights were preserved. 11

         Indeed, the plain language of the Order granting the request for the preliminary

injunction highlights that its issuance was the only way to maintain the status quo for

plaintiff:

                [Plaintiff] also has shown that absent an injunction, all
                SDFRs with qualifying farm loans will receive up to 120%
                debt relief and he will suffer the harm of being excluded
                from eligibility for that debt relief program solely on the
                basis of his race. That harm, he has shown, is irreparable.
                The debt relief given to the SDFRs cannot be undone, the
                Court cannot order that Plaintiff receive equivalent relief,
                and money damages are precluded . . . Only a preliminary
                injunction halting the distribution of payments and debt
                relief under Section 1005 can give Plaintiff an opportunity
                to obtain any redress . . . This Court has never gone so far
                as to issue a[] [nationwide] injunction and is firmly of the
                view that a narrow injunction that maintains the status quo
                in the specific circumstances of the plaintiff before the
                Court[,] and nothing more[,] is the appropriate remedy.

Id. at 47.

         This finding is in accord with Holman, where the plaintiff farmer also obtained

a preliminary injunction preventing the enactment of Section 1005 in the Western

District of Tennessee. Holman v. Vilsack, 2021 WL 2877915. 12 Holman later denied

plaintiff’s motion for attorneys’ fees under the EAJA because it concluded he was not


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  See doc. 41 at 40 (explaining the Court could not order plaintiff to receive the same debt
relief as the SDFRs because decisions about who to include the in the statute are left to
Congress).
12
     Holman and Wynn are the only cases in which a fees motion was filed under the EAJA.


                                              12
the prevailing party within the meaning of the statute. 2023 WL 2776733, at *4.

Holman ultimately concluded that the plaintiff:

              received preliminary relief that was by nature ‘temporary
              and revocable,’ i.e., an injunction precluding the
              Government from implementing § 1005 until a decision on
              the merits if the case could be rendered . . . [t]he injunction
              in this case provided Plaintiff with nothing lasting—no
              permanent change of status, no irrevocable benefit, and no
              enduring opportunity to profit from the Court’s order.

Id. 13 Thus, I find here that plaintiff does not qualify as a prevailing party under the

EAJA and is not entitled to an award of attorneys’ fees.

             B. The Government’s position was substantially justified.

       Even, assuming arguendo, plaintiff met his burden to show he is a prevailing

party, he cannot recover fees because the Government’s position was substantially

justified. 14 28 U.S.C. § 2412(d)(1)(A). The Government bears the burden of proving its

position was “justified to a degree that could satisfy a reasonable person.” Pierce v.

Underwood, 487 U.S 552, 565 (1988).

       Congressional enactments, such as Section 1005, enjoy a presumption of

constitutionality; thus, “situations in which the government’s defense of the

constitutionality of a federal statute fails the substantially justified test should be



13
   Although Holman analyzed the issue under the law of the Sixth Circuit, the reasoning and
characterization of the relief obtained through the preliminary injunction is sound; I do not
find that the law of the Eleventh Circuit compels a different result.
14
  The EAJA contains a substantial justification requirement, not found in 42 U.S.C. § 1988
(the fee-shifting statute at issue in Billups and Common Cause Georgia). 28 U.S.C. §
2412(d)(1)(A).
                                             13
exceptional.” Nat’l Fed’n of Republican Assemblies v. United States, 263 F. Supp. 2d 1372,

1377 (S.D. Ala. 2003) (quoting Grace v. Burger, 763 F.2d 457, 458 n.1 (D.C. Cir. 1985)

(additional citations omitted)). See also Vacchio v. Ashcroft, 404 F.3d 663, 675 (2d Cir.

2005) (“[T] here is no doubt the Government is entitled—if not obligated—to put forth

a good faith effort to defend the constitutionality of federal laws, especially those that

have never been found unconstitutional.”); Kiareldeen v. Ashcroft, 273 F.3d 542, 549 (3d

Cir. 2001) (concluding the Department of Justice was duty-bound to defend what

Congress had enacted, and was therefore substantially justified in defending the

constitutionality of the statute). This does not mean, however, that a plaintiff may

never make such a showing. “[A]lthough the defense of a congressional statute from

constitutional challenge will usually be substantially justified, . . . neither the language

of the EAJA nor its legislative history support the argument that is true as a matter of

law.” League of Women Voters of Ca. v. F.C.C., 798 F.2d 1255, 1259 (9th Cir. 1986)

(additional citations omitted).

       The Eleventh Circuit outlines in Jean v. Nelson six non-exhaustive factors a court

may consider in determining whether the Government’s position was substantially

justified, or reasonable, under the EAJA: 1) the state at which the litigation was

resolved, 15 2) views on the merits expressed by other courts, 3) the legal merits of the

position, 4) “the clarity of the governing law,” 5) “the foreseeable length and


15
  Some courts refer to this factor as “the stage at which the litigation was resolved.” Nat’l Fed’n
of Republican Assemblies, 263 F. Supp. 2d at 1378 (citing Jean v. Nelson, 863 F.2d at 767)
(emphasis added).


                                                14
complexity of the litigation,” and 6) “the consistency of the government’s position.”

863 F.2d 759, 767-68 (11th Cir. 1988) (additional citations omitted). “Of course, these

guideposts are not intended to be an exhaustive list of all the factors a district court,

acting in its discretion, may undertake to review.” Id.

       First, “[a]n early, summary disposition of a fact-intensive case suggests that the

Government’s position was not substantially justified.” Nat’l Fed’n of Republican

Assemblies, 263 F. Supp. 2d at 1378 (citing Pierce, 487 U.S. at 568-69). Here, the case

was not summarily disposed of through summary judgment or trial; there was no

judgment. Rather, the Court preserved the status quo through its issuance of a

preliminary injunction before the case was stayed, and the law was eventually

repealed, mooting the issue. Doc. 84. Because the case was mooted before the Court

decided, on a full record, whether Section 1005 violated equal protection, I find the

first factor favors the Government. See id. (finding this first factor did not support the

awarding of fees where the “case centered on a multitude of legal questions and was

not decided early in the litigation.”).

       Turning to the second Jean 16 factor—views on the merits expressed by other

courts—Judge Howard was the first to enter a preliminary injunction enjoining the

debt-relief program for SDFRs nationwide and was the first to analyze the

constitutionality of the law in depth, including historical evidence of discrimination,

the alleged inadequacy of past remedial measures, Government reports, statistical


16 863 F.2d at 767.



                                           15
evidence, and case law instructive on narrow tailoring. Doc. 41. Indeed, the

preliminary injunctions issued in Miller and Holman cited Judge Howard’s Order, doc.

41, extensively. See Miller, 2021 WL 11115194, at *9; Holman, 2021 WL 2877915, at

*7. 17 Thus, the constitutional viability of Section 1005 had not yet been meaningfully

tested by the Courts before the Government defended it here. The second factor also

favors the Government.

         Third, I examine the legal merits of the Government’s position. 18 In response to

plaintiff’s request for a preliminary injunction, the Government argued that Section

1005 was constitutional and urged the Court to find that it passed strict scrutiny. See

doc. 41 at 6 (citing Grutter v. Bollinger, 539 U.S. 306, 326 (2003) (explaining that as a

race-based governmental action, Section 1005 is subject to strict scrutiny)). This is the

most stringent level of statutory review; to pass strict scrutiny, “a law must serve a

compelling governmental interest and be narrowly tailored to further that interest.” Id.

(citing Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 224 (1995)). But this level of

review does not mean that the Government’s defense of statutory construction is

unjustified. See Grutter, 539 U.S. at 326-27 (“Although all government uses of race are

subject to strict scrutiny, not all are invalidated by it.”). Indeed, the Government

argued it had a compelling interest in relieving the debts of SDFRs and that the



17
  As noted above, the preliminary injunction, doc. 41, did not finally reach the merits of the
constitutional challenge; rather it preserved the status quo while giving the Government, and
plaintiff, time to litigate the issue to finality on the merits.

18
     See Jean, 863 F.2d at 767.
                                             16
operation of the statute: 1) “remed[ied] the well-documented history of discrimination

against minority farmers in the USDA loan (and other) programs” and 2) “prevent[ed]

public funds from being allocated in a way that perpetuates the effects of

discrimination.” Doc. 41 at 7-8 (internal citations omitted).

      The Government also provided evidence of alleged discrimination, including:

“substantial legislative history,” expert testimony at congressional committee

meetings, congressional reports, and the floor statements of legislators supporting the

passage of Section 1005. Id. at 9. The evidence included a “dramatic decrease in

minority owned farms from 1920 to 1992,” lower approval rates among minority

farmers, and “concerted efforts by USDA to ignore the complaints of discrimination

made by minority farmers.” Doc. 41 at 10. The Court concluded: “It is undeniable—

and notably uncontested by the parties—that USDA had a dark history of past

discrimination against minority farmers,” id., but that, at the preliminary injunction

stage, “the actual evidentiary support for the inadequacy of past remedial measures is

limited and largely conclusory.” Id. at 12; see also doc. 41 at 11-12 (finding evidence of

continued discrimination may be inadequate) (emphasis added); id. at 15-16

(expressing doubt that, on the record before the Court, the Government would prevail;

but stopping short of determining whether the Government will ultimately provide a

compelling need for the broad relief granted in Section 1005); id. at n.9 (noting the

limited nature of the record). And although the Government argued that Section 1005

was narrowly tailored to achieve its purported interest, the Court disagreed. See, e.g.,



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doc. 41 at 22 (finding the debt relief program “untethered to an attempt to remedy any

specific instance of past discrimination.”).

      Even though the Court found in favor of plaintiff at the preliminary injunction

stage, the Government’s position was not unreasonable. Instead, the Court

emphasized that “at this stage” and on the record before it, it was granting the

requested relief preliminarily because the Government failed to show that the statute

was narrowly tailored to further its interest. Id. at n.9 (“On a more fully developed

record, the Government may be able to establish that despite past remedial efforts the

harm caused by the disgraceful history of discrimination by the USDA in farm loans

and programs is ongoing . . . . ”). “[A] position can be justified even though it is not

correct, and we believe it can be substantially (i.e. for the most part) justified if a

reasonable person could think it correct, that is, if it has a reasonable basis in law and

fact.” Pierce, 487 U.S. at 566 n.2. The Third Circuit has explained:

             A court must not “assume that the government’s position
             was not substantially justified simply because the
             government lost on the merits.” Morgan v. Perry, 142 F.3d
             670, 685 (3d Cir. 1998) (citation omitted); accord Pierce, 487
             U.S. at 569, 108 S.Ct. 2541 (reminding that the government
             “could take a position that is substantially justified, yet
             lose”); see also S. Rep. No. 96–253, at 7 (1979); H.R. Rep.
             No. 96–1418, at 11 (1979), reprinted in 1980 U.S.C.C.A.N.
             4953, 4984, 4990 (stating that the EAJA “should not be read
             to raise a presumption that the Government position was
             not substantially justified, simply because it lost the case.
             Nor, in fact, does the standard require the Government to
             establish that its decision to litigate was based on a
             substantial probability of prevailing”); Clarke v. INS, 904
             F.2d 172, 175 (3d Cir.1990) (“EAJA is a waiver of sovereign


                                           18
                immunity, however, so it must be construed strictly in favor
                of the United States”).

Kiareldeen, 273 F.3d at 554. Preliminary relief issued by multiple courts in separate

actions, 19 as is the case here, may suggest the Government faced an uphill battle in

ultimately establishing the law passed constitutional muster at a trial or summary

judgment stage, 20 but that does that not mean the Government cannot defend a

congressionally-enacted law.

         The fifth factor is “the foreseeable length and complexity of the litigation.” Jean,

863 F.2d at 767.

                The longer and more complex the course of litigation
                necessary to vindicate his position, the more hesitant a
                private party will be to defend his interests . . . .
                [Accordingly], in categories of cases in which substantial
                investments of effort and money commonly are required to
                prosecute suits to their ultimate conclusions, the
                government should be obliged to make an especially strong
                showing that its persistence in litigation was justified.

Nat’l Fed’n of Republican Assemblies, 263 F. Supp at 1379 (quoting Spencer v. NLRB, 712

F.2d 539, 560 (D.C. Cir. 1983)). Here, the parties agreed the case could be resolved

with limited discovery and on summary judgment because the constitutional question

before the Court was largely a legal one. 21 And, in the end, the case was stayed, sparing


19
  Doc. 41; Faust v. Vilsack, 519 F. Supp. 3d 470 (E.D. Wis. 2021); Miller v. Vilsack, 2021 WL
11115194, at *9; Holman v. Vilsack, 2021 WL 2877915.
20
   See doc. 54 (explaining that a plaintiff seeking a preliminary injunction must establish he is
likely to succeed on the merits).
21
     Although a complex legal question.


                                               19
the parties from complex and expensive discovery disputes, and dispositive motion

practice. See id. (explaining that while the issues were complex, the litigation was not

because the parties put most arguments in brief form in motions for preliminary

injunction and motions to dismiss early in the case, discovery was conducted, and the

merits determined at the summary judgment stage; and thus, the complexity factor did

not support awarding attorneys’ fees).

       In conclusion, I do not find the Government’s position in defending the

constitutionality of Section 1005 unreasonable. Compare Jean 863 F.2d at 769 (holding

the Government’s failure to follow the advice of its general counsel unreasonable);

Hudson v. Sec. of Health and Hum. Servs., 839 F.2d 1453, 1456-57 (11th Cir. 1998)

(finding an agency secretary’s failure to follow agency regulation in defense of a

lawsuit was not substantially justified). As discussed above, the Jean factors, on

balance, weigh in the Government’s favor. This finding is further buttressed by the

presumed constitutionality of congressionally enacted statutes, such as Section 1005,

Nat’l Fed’n of Republican Assemblies, 263 F. Supp. 2d at 1377, and the narrow waiver of

sovereign immunity allowed by the EAJA. Ardestani, 502 U.S. at 137 (citations

omitted). 22




22
  Because I find plaintiff is not entitled to an award, I do not reach the question of whether
a fee award is unjust under the EAJA, 28 U.S.C. § 2412. Additionally, it is also unnecessary
for the Court to opine on the reasonableness of the fee request using the lodestar analysis.


                                             20
                                     Recommendation 23

       I respectfully recommend:

       1. Plaintiff’s Motion for Attorneys’ Fees, doc. 100, be denied and the case

           remain closed.

       2. The parties be directed to file a status report regarding plaintiff’s request for

           costs, doc. 96, within 14 days of the issuance of a final fee Order. 24

           Entered in Jacksonville, Florida, on August 1, 2023.




c.
The Honorable Marcia Morales Howard, United States District Judge
Glenn Evans Roper, Esquire
Christina Marie Martin, Esquire
Kyla Snow, Department of Justice

23
  “Within 14 days after being served with a copy of [a report and recommendation on a
dispositive issue], a party may serve and file specific written objections to the proposed
findings and recommendations.” Fed. R. Civ. P. 72(b)(2). “A party may respond to another
party’s objections within 14 days after being served with a copy.” Id. A party’s failure to serve
and file specific objections to the proposed findings and recommendations alters the scope of
review by the District Judge and the United States Court of Appeals for the Eleventh Circuit,
including waiver of the right to challenge anything to which no specific objection was made.
See Fed. R. Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(B); 11th Cir. R. 3-1; Order (Doc. No. 3),
No. 8:20-mc-100-SDM, entered October 29, 2020, at 6.

24 I note that although a proposed bill of costs was filed, objections to it were deferred until

after the Court ruled on the attorneys’ fees motion. Doc. 99. The Government alleges the
resolution of the fee petition “may well be” dispositive of plaintiff’s entitlement to costs, and
that it “is possible the parties could resolve any dispute over the bill of costs without further
litigation once the Court has ruled on the fee petition.” Doc. 98.
                                               21
Michael F. Knapp, Department of Justice
Janet R. Varnell, Esquire
Brian W. Warwick, Esquire
David Samuel Muraskin, Esquire
Jessica Leigh Culpepper, Esquire




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